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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                 NO. 4:15CR00063-02-JLH

CURTIS EARL EVANS, JR.                                                               DEFENDANT

                                             ORDER

       The United States has filed a response to the motion of Curtis Earl Evans, Jr., to vacate, set

aside, or correct his sentence under 28 U.S.C. § 2255. If Evans wishes to file a reply, he must do

so on or before December 19, 2016.

       IT IS SO ORDERED this 18th day of November, 2016.



                                                      __________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
